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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS. Civil/Criminal No.: 21cr47 (RDM)

 

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HECTOR EMMANUEL SANTOS VARGAS )
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NOTE FROM JURY

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VS. Civil/Criminal No.: 21cr47 (RDM)

HECTOR EMMANUEL SANTOS VARGAS

 

NOTE FROM JURY

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Case 1:21-cr-00047-RDM Document 62 Filed 12/12/22 Page 3 of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Vv.

HECTOR EMMANUEL VARGAS Criminal Action No. 21-cr-47 (RDM)

SANTOS,

Defendant.

 

 

JURY QUESTION AND ANSWER

1. For Count 3, on page 24 of the “Final Jury Instructions,” the title reads “Violent
Entry OR Disorderly Conduct in a Capitol Building,” but the following line (i.e. the
first sentence of paragraph reads) “... charges the defendant with violent entry and
disorderly and disruptive conduct.” Is the charge made against and or or? Can you
clarify this discrepancy, please.

Although the title of the relevant statute refers to “violent entry and disorderly conduct,”
in this case, the government did not charge “violent entry,” and thus you need not
consider that question.

As I have previously instructed you, to find the Defendant guilty on Count 3, you must
find beyond a reasonable doubt that (1) the Defendant engaged in disorderly or disruptive
conduct in any of the United States Capitol Buildings; (2) that he did so with the intent to
impede, disrupt, or disturb the orderly conduct of a session of Congress or of either
House of Congress; and (3) that he acted willfully and knowingly.

If you find that the government has proven all three of these elements beyond a
reasonable doubt, then you should find the Defendant guilty on Count 3. Ifyou find that
the government has failed to prove any of these elements beyond a reasonable doubt, then
you should find the Defendant not guilty on Count 3.

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UNITED STATES OF AMERICA

 

 

 

 

 

 

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HECTOR EMMANUEL SANTOS VARGAS )
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